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                  EXHIBIT 2
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       HEARTLAND ALLIANCE FOR HUMAN NEEDS & HUMAN RIGHTS d/b/a NATIONAL IMMIGRANT JUSTICE CENTER v. UNITED STATES DEPARTMENT OF
                              HOMELAND SECURITY AND UNITED STATES IMMIGRATION AND CUSTOMS ENFORCEMENT
                                               CIVIL ACTION NO. 1:16-cv-00211-RMC (D.D.C.)



On or about November 30, 2016, Defendants were ordered to locate and produce all reports (both in draft and final form, including all attachments
and exhibits thereto, through November 4, 2016) related to Secure Communities (SC) statistical monitoring and Priority Enforcement Program (PEP)
statistical monitoring, or to identify each report or portion thereof being withheld from disclosure and to provide a detailed explanation on or before
January 11, 2017, of the reasons for withholding the reports.
This Vaughn index serves to provide a detailed explanation of the reasons for withholding in full twenty-eight iterations of a draft report, through
November 4, 2016, related to Secure Communities statistical monitoring, see Vaughn v. Rosen, 484 F.2d 820 (D.D.C. 1973), under the deliberative
process privilege pursuant to 5 U.S.C. 552 (b)(5).
All reports indexed below were prepared and circulated within the U.S. Department of Homeland Security (DHS), a federal agency, by personnel
within the Office for Civil Rights and Civil Liberties (CRCL) on behalf of the Officer for CRCL, with the intent to provide the report in final form
for the consideration of the Secretary of DHS. No final report related to Secure Communities statistical monitoring was created, approved, or
executed by the CRCL Officer or submitted to the Secretary of DHS or member of senior DHS leadership.
SC was operated by U.S. Immigration and Customs Enforcement (ICE), Enforcement and Removal Operations (ERO), a DHS component. No
decision making authority with regard to SC or SC statistical monitoring rested with CRCL.
No reports, in draft or final form, were created relating to PEP statistical monitoring.
Within this index, each of the twenty-eight iterations of the draft report are referred to by an assigned letter; the drafts are labeled as Documents A
through Z3. Bates-numbers were applied to Documents A through Z3 from page 1 through page 1190. Thus, the first page of Document A contains
bates-number “1” while the last page of Document Z3 is numbered “1190.”
The index begins by detailing the reports in a table format. The table contains five columns entitled: “Document Section;” “Summary of Content
within Section;” “Respective Document Letter and Bates-Number(s);” “Document Specific Comments;” and “Justification for Application of 5
U.S.C. 552 (b)(5) Deliberative Process Privilege.” Unless otherwise noted, each draft report follows a similar format and is comprised of a title page,
a table of contents/appendix section, an introduction section, a summary section, and four sections, each of which may be found under the
“Document Section” column. These divisions of the draft reports are located in the rows under the column heading “Document Section.” The final
row of the table contains the language in the header of each report. The index concludes by detailing, in narrative form, various tables containing
data located throughout the reports.


                                                                             1
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    HEARTLAND ALLIANCE FOR HUMAN NEEDS & HUMAN RIGHTS d/b/a NATIONAL IMMIGRANT JUSTICE CENTER v. UNITED STATES DEPARTMENT OF
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DOCUMENT      SUMMARY OF             RESPECTIVE            ADDITIONAL                     JUSTIFICATION FOR APPLICATION OF
 SECTION       DOCUMENT              DOCUMENT              DOCUMENT                                5 U.S.C. 552 (b)(5)
                SECTION                   AND               SPECIFIC                       DELIBERATIVE PROCESS PRIVILEGE
                CONTENT                  BATES-            COMMENTS
                                      NUMBER(S)
 Title Page   The entries in this   Docs A, X, Y, Z,   Docs A, X, Y, Z, Z2, and    The dates and the editorial language located on the title pages,
              row under the         Z2, and Z3: N/A    Z3 do not contain a title   as well as the absence of a title page on six draft reports,
              column heading                           page.                       reflect the draft reports were part of a continuing process of
              “Document             Doc B: 25          Docs B and C: June          revisions generated in advance of the adoption of a final DHS
              Specific              Doc C: 52          2010; formatting            policy. The drafts, to include the title page, reflect the
              Comments”                                questions.                  thoughts, recommendations, and opinions of CRCL employees
              contain the date      Doc D: 83          Doc D: June 2011;           on legal and policy matters concerning SC and statistical
              on the title page                        formatting questions.       monitoring. Release of any draft report, to include the title
              of each draft         Doc E: 119         Docs E, F, G, H, I, and     page, would allow the public to determine the substance of the
              report as well as     Doc F: 155         J: June 2011                proposed and adopted changes to the records and thereby
              the editorial         Doc G: 200                                     intrude upon the editorial process and stifle the exchange of
              language, if any,     Doc H: 248                                     ideas and candid discussions within the DHS. Additionally,
              placed on the title   Doc I: 295                                     release of twenty-eight draft versions, all of which differ in
              page.                 Doc J: 342                                     content and length, would pose a substantial risk of confusing
                                    Doc K: 389         Docs K, L, M, N, O, and     the public.
                                    Doc L: 439         P: June __, 2011
                                    Doc M: 489
                                    Doc N: 537
                                    Doc O: 587
                                    Doc P: 641
                                    Doc Q: 690         Docs Q, R, S, T, U, and
                                    Doc R: 747         V: July __, 2011
                                    Doc S: 801
                                    Doc T: 856
                                    Doc U: 911
                                    Doc V: 970
                                    Doc W: 1026        Doc W: August __, 2011

                                                                   2
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                           HOMELAND SECURITY AND UNITED STATES IMMIGRATION AND CUSTOMS ENFORCEMENT
                                            CIVIL ACTION NO. 1:16-cv-00211-RMC (D.D.C.)

DOCUMENT      SUMMARY OF             RESPECTIVE          ADDITIONAL                    JUSTIFICATION FOR APPLICATION OF
 SECTION       DOCUMENT              DOCUMENT            DOCUMENT                               5 U.S.C. 552 (b)(5)
                SECTION                  AND              SPECIFIC                      DELIBERATIVE PROCESS PRIVILEGE
                CONTENT                 BATES-           COMMENTS
                                      NUMBER(S)
 Table of     The entries in this   Doc A: 1        Docs A, B, and C do not     The topics under consideration for inclusion within the table of
 Contents/    row under the         Doc B: 25-6     contain an appendix.        contents/appendix section reflect the thoughts,
 Appendix     column heading        Doc C: 52-3                                 recommendations, and opinions of CRCL employees as to
              “Document             Doc D: 83-84    Docs D and E list           those topics the drafters believed may have been of interest to
              Specific              Doc E: 119-20   materials under             DHS senior leadership. The absence of a table of contents in
              Comments”                             consideration for           five drafts, the absence of an appendix section in eight drafts,
              contain the                           inclusion in appendix as    the variations in content and length of the table of
              proposed titles for                   well as redlines.           contents/appendix section, the comments inserted discussing
              the various           Doc F: 155-56   Docs F, G, H, I, J, and     which topics should be included or omitted, the redlines, the
              chapters (or          Doc G: 200-01   M contain entries           language strikethroughs, the lack of corresponding page
              sections) within      Doc H: 248-49   followed by question        numbers, and comments regarding the ordering of topics all
              each draft report.    Doc I: 295-96   mark(s) within brackets     reflect that the reports were part of a continuing process of
              The proposed          Doc J: 342-43   (e.g. [??]) and a list of   revisions, were predecisional, deliberative, and generated prior
              chapter titles are    Doc M: 489-90   materials under             to the adoption of a final DHS policy. The release of the draft
              followed by                           consideration for           reports in full or part would allow the public to determine the
              corresponding                         inclusion in appendix.      substance of the proposed and adopted changes and thereby
              page number,          Doc K: 389-91   Doc K contains entries      intrude upon the editorial process and stifle the exchange of
              unless otherwise                      followed by question        ideas and candid discussions within the DHS. Additionally,
              noted.                                mark(s) within brackets     release of twenty-eight draft reports which differ in length and
              Additionally, this                    (e.g. [??]); a list of      content would pose a substantial risk of confusing the public.
              section                               materials under
              enumerates                            consideration for
              proposed                              inclusion in appendix;
              materials for                         redlines; and language
              inclusion within                      strikethroughs.
              an appendix           Doc L: 439-41   Docs L and N list
              followed by the       Doc N: 537-39   materials under
              corresponding                         consideration for
                                                                 3
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                                           CIVIL ACTION NO. 1:16-cv-00211-RMC (D.D.C.)

DOCUMENT     SUMMARY OF          RESPECTIVE              ADDITIONAL                JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT           DOCUMENT                DOCUMENT                           5 U.S.C. 552 (b)(5)
               SECTION              AND                   SPECIFIC                  DELIBERATIVE PROCESS PRIVILEGE
               CONTENT             BATES-                COMMENTS
                                 NUMBER(S)
             page number,                           inclusion in appendix;
             unless otherwise                       redlines; language
             noted.                                 strikethroughs; entries
                                                    with no corresponding
                                                    page numbers; and
                                                    comments regarding the
                                                    availability of proposed
                                                    appendix materials.
                                Doc O: 587-89       Docs O, R, T, U, V, and
                                Doc R: 748          W contain entries with no
                                Doc T: 857-58       corresponding page
                                Doc U: 912          numbers.
                                Doc V: 971
                                Doc W: 1027
                                Docs X, Y, Z, Z2,   Docs X, Y, Z, Z2, and Z3
                                and Z3: N/A         do not contain a table of
                                                    contents or appendix.
                                Doc P: 641-42       Doc P contains entries
                                                    with no corresponding
                                                    page numbers and
                                                    suggestions for the
                                                    ordering of appendix
                                                    materials.
                                Doc Q: 690-92       Docs Q and S contain
                                Doc S: 802          redlines; language
                                                    strikethroughs; and entries
                                                    with no corresponding
                                                    page numbers.
                                                                 4
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                           HOMELAND SECURITY AND UNITED STATES IMMIGRATION AND CUSTOMS ENFORCEMENT
                                            CIVIL ACTION NO. 1:16-cv-00211-RMC (D.D.C.)

DOCUMENT       SUMMARY OF            RESPECTIVE          ADDITIONAL                       JUSTIFICATION FOR APPLICATION OF
 SECTION        DOCUMENT             DOCUMENT            DOCUMENT                                  5 U.S.C. 552 (b)(5)
                 SECTION                  AND             SPECIFIC                         DELIBERATIVE PROCESS PRIVILEGE
                 CONTENT                BATES-           COMMENTS
                                      NUMBER(S)
Introduction   The introduction     Doc A: 2        Doc A, B, and C contain       Within the introduction section, the variance in the dates of the
   Section     section of each      Doc B: 27       no signatory or date lines.   draft reports, the variance in length between the draft
               draft report         Doc C: 54                                     introduction sections, the absence of signature and date lines,
               contains a           Doc D: 85-6     Docs D and E contain          the fact no draft contains the CRCL Officer’s signature, the
               signatory line for   Doc E: 121-22   redlines and there are no     redlines and language strikethroughs, the editorial comments
               the CRCL Officer                     signatory or date lines.      and edits relating to the insertion and/or deletion of material
               and a date line.     Doc F: 157-58   Docs F, G, H, I, and J        and the reasoning underlying the comments and edits, the
               The signatory and    Doc G: 202-03   are dated June 7, 2011.       incorrect pagination, the placeholders for information to be
               date lines are       Doc H: 250-51   Docs H, I, and J              inserted in the future, and the notations that additional
               blank on each        Doc I: 297-98   pagination incorrect.         revisions were needed, all reflect that the reports were part of a
               report, unless       Doc J: 344-45                                 continuing process of revisions. The drafts, to include the
               otherwise noted.     Doc K: 392-93   Docs K, L, M, N, O, and       introduction section, reflect the thoughts, recommendations,
                                    Doc L: 442-43   P are dated June ___,         and opinions of CRCL employees as to those topics the
               The introduction     Doc M: 491-92   2011. Docs M and N            drafters believed may have been of interest to DHS senior
               section in the       Doc N: 540-41   contain redlines. Docs K      leadership. The introduction section, in particular, was
               draft reports:       Doc O: 590-91   and M pagination              prepared to provide a summary of the issues and advice
               distill and          Doc P: 643-44   incorrect.                    contained in the balance of the reports for the consideration of
               summarize            Doc Q: 693-94   Doc Q is dated July ___,      senior DHS leadership. The contents reflect the exercise in
               concerns with SC                     2011; contains redlines       judgment by CRCL personnel as to those facts, issues, and
               raised by non-                       and language                  advice that warrant priority due to their importance and
               federal entities;                    strikethroughs; and           relevance in developing the report and supporting the
               expresses the                        identifies language that is   recommendations, proposals, and opinions contained therein.
               opinion of CRCL                      inaccurate and                Consequently, the draft reports and introduction sections were
               personnel of                         explanation as to why         predecisional, deliberative, and do not represent the adoption
               factors                              language inaccurate.          of a final DHS policy.
               contributing to      Doc R: 749-50   Docs R, S, T, U, and V
               the public’s         Doc S: 803-04   are dated July ___, 2011.     Finally, release of the twenty-eight versions or the introduction
               perception of SC;    Doc T: 859-60                                 sections would pose a substantial risk of confusing the public
                                                                 5
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DOCUMENT     SUMMARY OF            RESPECTIVE             ADDITIONAL                     JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT             DOCUMENT               DOCUMENT                                5 U.S.C. 552 (b)(5)
               SECTION                 AND                 SPECIFIC                       DELIBERATIVE PROCESS PRIVILEGE
               CONTENT                BATES-              COMMENTS
                                    NUMBER(S)
             anticipates          Doc U: 913-14      Doc R pagination             and allow the public to determine the substance of the
             timeframes for       Doc V: 972-73      incorrect.                   proposed and adopted changes made to the drafts and thereby
             future DHS           Doc W:1028-29      Doc W is dated August        intrude upon the editorial process and reveal the drafters’
             activities;                             ___, 2011.                   chain of reasoning resulting in the stifling of the exchange of
             summarizes           Doc X: 1082-83     Doc X is dated October       ideas and candid discussions within DHS.
             policy-based                            ___, 2011, and contains
             recommendations                         placeholder for language
             for SC;                                 to be inserted in future.
             enumerates           Doc Y: 1111-12     Docs Y and Z are dated
             anticipated future   Doc Z: 1138-39     October ___, 2011;
             undertakings and                        contain placeholders for
             influencing                             language to be inserted in
             factors; proposes                       future; and contain
             institutionalizing                      notations that entire
             particular                              section requires revision.
             activities; and      Doc Z2: 1155-56    Docs Z2 and Z3 are dated
             offers suggestions   Doc Z3: 1173-74    October ___, 2011;
             for addressing                          contain placeholders for
             anticipated public                      language to be inserted in
             perceptions.                            future; contain notations
                                                     that section requires
                                                     revision; and comment
                                                     that estimated figures
                                                     require revision.
 Summary     The summary          Docs A, B, C, D,   Docs A, B, C, D, E, X, Y,    Within the summary section, the absence of a summary in ten
  Section    section in the       E, X, Y, Z, Z2,    Z, Z2, and Z3 do not         of the draft reports, the variance in the length and depth of
             draft reports:       and Z3: N/A        contain a summary            content, the redlines and language strikethroughs, the editorial
             discuss potential                       section.                     comments and edits relating to the insertion and/or deletion of
                                                                 6
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DOCUMENT     SUMMARY OF          RESPECTIVE            ADDITIONAL                     JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT           DOCUMENT              DOCUMENT                                5 U.S.C. 552 (b)(5)
               SECTION               AND                SPECIFIC                       DELIBERATIVE PROCESS PRIVILEGE
               CONTENT              BATES-             COMMENTS
                                  NUMBER(S)
             concerns with SC; Doc F:159-61       Doc F contains sentences     material and the reasoning underlying the comments and edits,
             assess potential                     followed by question         the sentences followed by bracketed question marks, the
             concerns and                         marks within brackets        placeholders for information to be inserted in the future,
             identifies those                     (e.g. [??]); identifies      notations regarding additional revisions, and the questions
             meriting action;                     topics to be updated in      regarding altering emphasis on topics all reflect that the
             summarize issues                     future after collaboration   reports were part of a continuing process of revisions.
             discussed in                         with components;             The drafts, to include the summary section, were prepared to
             subsequent                           contains placeholders for    summarize the issues and advice contained in the balance of
             sections of the                      language to be inserted in   the reports for the consideration of senior DHS leadership.
             draft report;                        future; and identifies       The content reflects the exercise in judgment by CRCL
             assess pros and                      language requiring           personnel as to those facts, issues, and advice that warrant
             cons of SC; make                     revision.                    priority due to their importance and relevance in developing
             proposals in the   Doc G: 204-06     Doc G contains sentences     the report and supporting the recommendations, proposals, and
             areas of                             followed by question         opinions contained therein. Consequently, the draft reports
             oversight,                           marks within brackets        and summary sections were predecisional, deliberative, and do
             protocols, policy,                   (e.g. [??]); redlines;       not represent the adoption of a final DHS policy.
             and DHS                              language strikethroughs;
             component/office                     identifies topics to be      Release of the draft reports or the summary section would not
             resource                             updated in future after      only pose a substantial risk of confusing the public but their
             allocation.                          collaboration with           release would allow the public to determine the substance of
                                                  components; and              the proposed and adopted changes made therein and thereby
                                                  placeholders for language    intrude upon the editorial process and reveal the drafters’
                                                  to be inserted in future.    chain of reasoning resulting in the stifling of the exchange of
                               Doc H: 252-54      Doc H contains comments      ideas and candid discussions within DHS.
                                                  questioning the accuracy
                                                  of information, the
                                                  reasons and rationales for
                                                  questioning the accuracy,
                                                              7
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   HEARTLAND ALLIANCE FOR HUMAN NEEDS & HUMAN RIGHTS d/b/a NATIONAL IMMIGRANT JUSTICE CENTER v. UNITED STATES DEPARTMENT OF
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DOCUMENT     SUMMARY OF          RESPECTIVE            ADDITIONAL                  JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT           DOCUMENT              DOCUMENT                             5 U.S.C. 552 (b)(5)
               SECTION              AND                 SPECIFIC                    DELIBERATIVE PROCESS PRIVILEGE
               CONTENT             BATES-              COMMENTS
                                 NUMBER(S)
                                                  and suggestion for
                                                  resolution; sentences
                                                  followed by question
                                                  marks within brackets
                                                  (e.g. [??]).
                               Doc I: 299-01      Doc I contains redlines;
                                                  language strikethroughs;
                                                  and sentences followed by
                                                  question marks within
                                                  brackets (e.g. [??]).
                               Doc J: 346-48      Doc J and K contain
                               Doc K: 394-97      redlines; language
                                                  strikethroughs; sentences
                                                  followed by question
                                                  marks within brackets
                                                  (e.g. [??]); and discusses
                                                  the merits of proposed
                                                  revised language, the
                                                  appropriateness of the
                                                  proposed language within
                                                  the summary section, and
                                                  suggestions for placement
                                                  elsewhere if proposed
                                                  language adopted.
                               Doc L: 444-47      Doc L contains sentences
                                                  followed by question
                                                  marks within brackets
                                                  (e.g. [??]).
                                                               8
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                          HOMELAND SECURITY AND UNITED STATES IMMIGRATION AND CUSTOMS ENFORCEMENT
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DOCUMENT     SUMMARY OF         RESPECTIVE             ADDITIONAL                  JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT          DOCUMENT               DOCUMENT                             5 U.S.C. 552 (b)(5)
               SECTION              AND                 SPECIFIC                    DELIBERATIVE PROCESS PRIVILEGE
               CONTENT             BATES-              COMMENTS
                                 NUMBER(S)
                               Doc M: 493-96      Doc M contains redlines;
                                                  language strikethroughs;
                                                  formatting questions;
                                                  sentences followed by
                                                  question marks within
                                                  brackets (e.g. [??]); and
                                                  questions regarding
                                                  whether particular content
                                                  should be included.
                               Doc N: 542-45      Doc N contains redlines;
                                                  language strikethroughs;
                                                  questions regarding
                                                  altering emphasis on
                                                  topics within summary
                                                  section; suggested
                                                  deletions and reasoning;
                                                  and sentences followed by
                                                  question marks within
                                                  brackets, (e.g. [??]).
                               Doc O: 592-95      Doc O contains redlines;
                                                  language strikethroughs;
                                                  and question regarding
                                                  accuracy of information.
                               Doc P: 645-48      Doc P contains
                                                  placeholders for
                                                  information to be updated
                                                  and revised in future.

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                                           CIVIL ACTION NO. 1:16-cv-00211-RMC (D.D.C.)

DOCUMENT     SUMMARY OF         RESPECTIVE             ADDITIONAL                  JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT          DOCUMENT               DOCUMENT                             5 U.S.C. 552 (b)(5)
               SECTION              AND                 SPECIFIC                    DELIBERATIVE PROCESS PRIVILEGE
               CONTENT             BATES-              COMMENTS
                                 NUMBER(S)
                               Doc Q: 695-98      Doc Q contains redlines
                                                  and language
                                                  strikethroughs.
                               Doc R: 751-54      Doc R contains redlines
                                                  and language
                                                  strikethroughs.
                               Doc S: 805-08      Docs S, U, and V N/A
                               Doc U: 915-18
                               Doc V: 974-77
                               Doc T: 861-64      Doc T contains redlines;
                                                  language strikethroughs;
                                                  discussions whether
                                                  language should be
                                                  deleted or not;
                                                  recommendations whether
                                                  to accept prior edits and
                                                  reasoning; comments that
                                                  deleting language may run
                                                  counter to future plans;
                                                  reasons for disagreeing
                                                  with prior edits;
                                                  recommendations to and
                                                  reasons for rejecting edits;
                                                  opinions offered on value
                                                  of edits; and questions
                                                  regarding the organization
                                                  of ideas within summary
                                                  section.
                                                               10
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DOCUMENT     SUMMARY OF             RESPECTIVE           ADDITIONAL                      JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT              DOCUMENT             DOCUMENT                                 5 U.S.C. 552 (b)(5)
               SECTION                  AND               SPECIFIC                        DELIBERATIVE PROCESS PRIVILEGE
               CONTENT                 BATES-            COMMENTS
                                     NUMBER(S)
                                   Doc W: 1030-33   Doc W contains redlines
                                                    and language
                                                    strikethroughs.
 Section I   Section I of the      Doc A: 2-8       Doc A contains                Within Section I, the variance in the length and depth of
             draft reports:                         placeholders for              content, the placeholders for information to be inserted in
             discuss                                information to be inserted    future, editorial questions and comments, formatting and
             immigration                            in future and identifies      organization comments, suggested shifts in emphasis, the
             enforcement                            areas requiring updating.     redlines and language strikethroughs, highlighting areas
             challenges;           Doc B: 28-35     Doc B contains discussion     requiring more fulsome analysis, requests that procedures be
             interpret statutory                    of characterizations made     clarified, sentences followed by bracketed question marks,
             language;                              in text and whether           questions regarding data accuracy all reflect the reports, to
             interpret scope of                     language should be            include Section I, were part of a continuing process of
             agreements;                            edited; identifies language   revisions.
             discuss                                requiring revision and
             anticipated future                     supporting                    The drafts and Section I were prepared to discuss enforcement
             actions; discuss                       documentation; makes          issues within a statutory framework, evaluate potential
             potential                              topic reorganization          complications, compare and contrast programs and discuss
             complications                          suggestions; and discusses    policy considerations in the context of SC for the
             impacting SC;                          when reviews of other         consideration of senior DHS leadership. Section I reflects the
             compare and                            sections will be              exercise in judgment by CRCL personnel as to those facts,
             contrast agency                        conducted.                    issues, and advice that warrant priority due to their importance
             programs and          Doc C: 55-63     Doc C contains                and relevance in developing the report and supporting the
             potential impacts                      suggestions for relocating    recommendations, proposals, and opinions contained therein.
             on the programs;                       language to alter             Consequently, the reports and Section I were predecisional,
             discuss                                emphasis; identifies          deliberative, and do not represent the adoption of a final DHS
             challenges                             language requiring            policy.
             associated with                        revision and supporting
             data accuracy;                         documentation;
                                                                11
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                          HOMELAND SECURITY AND UNITED STATES IMMIGRATION AND CUSTOMS ENFORCEMENT
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DOCUMENT     SUMMARY OF            RESPECTIVE          ADDITIONAL                      JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT             DOCUMENT            DOCUMENT                                 5 U.S.C. 552 (b)(5)
               SECTION                AND               SPECIFIC                        DELIBERATIVE PROCESS PRIVILEGE
               CONTENT               BATES-            COMMENTS
                                   NUMBER(S)
             and discuss policy                   placeholders for language    Release of the drafts or Section I would not only pose a
             considerations.                      to be inserted in future;    substantial risk of confusing the public but their release would
                                                  and formatting               allow the public to determine the substance of the proposed
                                                  suggestions.                 and adopted changes made therein and thereby intrude upon
                                  Doc D: 87-96    Doc D contains redlines;     the editorial process and reveal the drafters’ chain of reasoning
                                                  strikethroughs; identifies   resulting in the stifling of the exchange of ideas and candid
                                                  language requiring           discussions within DHS.
                                                  revision and supporting
                                                  documentation; highlights
                                                  weaknesses in
                                                  analysis/argument
                                                  requiring attention; and
                                                  commentary on word
                                                  choice.
                                  Doc E: 123-32   Doc E contains redlines;
                                                  language strikethroughs;
                                                  comments regarding
                                                  definitions of language
                                                  within text; comments
                                                  regarding SC processes
                                                  that impact analysis;
                                                  discussions regarding
                                                  deleting information;
                                                  highlights
                                                  analysis/argument
                                                  requiring additional
                                                  editing; highlights
                                                  changes made to language
                                                              12
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DOCUMENT     SUMMARY OF          RESPECTIVE            ADDITIONAL                  JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT           DOCUMENT              DOCUMENT                             5 U.S.C. 552 (b)(5)
               SECTION              AND                 SPECIFIC                    DELIBERATIVE PROCESS PRIVILEGE
               CONTENT             BATES-              COMMENTS
                                 NUMBER(S)
                                                  based clarifications of
                                                  processes; comments
                                                  regarding word choice;
                                                  opinions whether to
                                                  include material based on
                                                  proposed future activities.
                               Doc F: 162-76      Doc F contains
                                                  placeholders for
                                                  information to be inserted
                                                  in future; request that
                                                  clarification be obtained
                                                  regarding certain
                                                  procedures; and sentences
                                                  followed by question
                                                  marks within brackets
                                                  (e.g. [?]).
                               Doc G: 207-22      Doc G contains
                                                  suggestion and reasons for
                                                  changing section title;
                                                  formatting questions for
                                                  purposes of (de)emphasis
                                                  issues; redlines; language
                                                  strikethroughs;
                                                  placeholders for
                                                  information to be inserted
                                                  after component
                                                  consultation; sentences
                                                  followed by question
                                                              13
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   HEARTLAND ALLIANCE FOR HUMAN NEEDS & HUMAN RIGHTS d/b/a NATIONAL IMMIGRANT JUSTICE CENTER v. UNITED STATES DEPARTMENT OF
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DOCUMENT     SUMMARY OF          RESPECTIVE            ADDITIONAL                  JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT           DOCUMENT              DOCUMENT                             5 U.S.C. 552 (b)(5)
               SECTION              AND                 SPECIFIC                    DELIBERATIVE PROCESS PRIVILEGE
               CONTENT             BATES-              COMMENTS
                                 NUMBER(S)
                                                  marks within brackets
                                                  (e.g. [?]); comments that
                                                  issues require update;
                                                  questions whether
                                                  information accurate and
                                                  suggested sources for
                                                  resolution of question.
                               Doc H: 255-68      Doc H contains language
                                                  followed by question
                                                  marks within brackets
                                                  (e.g. [??]); redlines;
                                                  language strikethroughs;
                                                  formatting suggestions;
                                                  questions regarding data
                                                  accuracy; and identifies
                                                  sentences requiring
                                                  revision.
                               Doc I: 302-15      Doc I contains redlines;
                                                  language strikethroughs;
                                                  explanation for word
                                                  choice edits; questions
                                                  regarding data accuracy;
                                                  discussion of issues
                                                  causing confusion and
                                                  why; comments
                                                  suggesting alternate
                                                  language and reasoning;

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DOCUMENT     SUMMARY OF          RESPECTIVE            ADDITIONAL                  JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT           DOCUMENT              DOCUMENT                             5 U.S.C. 552 (b)(5)
               SECTION              AND                 SPECIFIC                    DELIBERATIVE PROCESS PRIVILEGE
               CONTENT             BATES-              COMMENTS
                                 NUMBER(S)
                                                  and suggestions to alter
                                                  emphasis on issues.
                               Doc J: 349-62      Doc J contains redlines;
                                                  language strikethroughs;
                                                  identifies new language;
                                                  discussion whether to
                                                  further develop particular
                                                  ideas; and discussion
                                                  whether to incorporate
                                                  proposed language.
                               Doc K: 398-411     Doc K contains redlines;
                                                  language strikethroughs;
                                                  notations that language
                                                  has been edited;
                                                  discussion whether to
                                                  incorporate additional
                                                  issue and proposed
                                                  language; formatting
                                                  suggestions; commentary
                                                  why analysis in previous
                                                  versions was flawed;
                                                  language followed by
                                                  question marks within
                                                  brackets (e.g. [??]);
                                                  questions whether
                                                  information should be
                                                  moved for purposes of
                                                  emphasis; comment
                                                              15
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   HEARTLAND ALLIANCE FOR HUMAN NEEDS & HUMAN RIGHTS d/b/a NATIONAL IMMIGRANT JUSTICE CENTER v. UNITED STATES DEPARTMENT OF
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DOCUMENT     SUMMARY OF          RESPECTIVE            ADDITIONAL                  JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT           DOCUMENT              DOCUMENT                             5 U.S.C. 552 (b)(5)
               SECTION              AND                 SPECIFIC                    DELIBERATIVE PROCESS PRIVILEGE
               CONTENT             BATES-              COMMENTS
                                 NUMBER(S)
                                                  highlighting
                                                  inconsistencies in analysis
                                                  requiring resolution
                                                  through policy; and
                                                  suggestions for re-writing
                                                  for improved clarity.
                               Doc L: 448-60      Doc L contains language
                                                  followed by question
                                                  marks within brackets
                                                  (e.g. [??]) and redlines.
                               Doc M: 497-509     Doc M contains redlines;
                                                  language strikethroughs;
                                                  comments questioning the
                                                  accuracy of figures;
                                                  questions regarding
                                                  statutory language;
                                                  formatting questions; and
                                                  question regarding
                                                  consensus reached in
                                                  defining terms.
                               Doc N: 546-58      Doc N contains redlines;
                                                  language strikethroughs;
                                                  questions regarding
                                                  source and accuracy of
                                                  figures; identifies issues
                                                  awaiting feedback;
                                                  identifies potentially
                                                  confusing with suggested
                                                              16
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   HEARTLAND ALLIANCE FOR HUMAN NEEDS & HUMAN RIGHTS d/b/a NATIONAL IMMIGRANT JUSTICE CENTER v. UNITED STATES DEPARTMENT OF
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DOCUMENT     SUMMARY OF          RESPECTIVE            ADDITIONAL                  JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT           DOCUMENT              DOCUMENT                             5 U.S.C. 552 (b)(5)
               SECTION              AND                 SPECIFIC                    DELIBERATIVE PROCESS PRIVILEGE
               CONTENT             BATES-              COMMENTS
                                 NUMBER(S)
                                                  edit; discussions whether
                                                  to delete or modify
                                                  language; discussions
                                                  regarding word choice;
                                                  and identifies language
                                                  that should not have been
                                                  deleted and reason for
                                                  opinion.
                               Doc O: 596-610     Doc O contains redlines;
                                                  language followed by
                                                  question marks within
                                                  brackets (e.g. [??]);
                                                  identifies issues currently
                                                  being vetted; language
                                                  strikethroughs; identifies
                                                  redundant material;
                                                  suggests removal of
                                                  language; and
                                                  placeholders for
                                                  information to possibly be
                                                  included in future.
                               Doc P: 649-61      Doc P contains questions
                                                  as to the accuracy of
                                                  information; identifies
                                                  topics requiring more
                                                  fulsome understanding by
                                                  drafters; and identifies
                                                  topics requiring further
                                                              17
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   HEARTLAND ALLIANCE FOR HUMAN NEEDS & HUMAN RIGHTS d/b/a NATIONAL IMMIGRANT JUSTICE CENTER v. UNITED STATES DEPARTMENT OF
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DOCUMENT     SUMMARY OF          RESPECTIVE            ADDITIONAL                  JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT           DOCUMENT              DOCUMENT                             5 U.S.C. 552 (b)(5)
               SECTION              AND                 SPECIFIC                    DELIBERATIVE PROCESS PRIVILEGE
               CONTENT             BATES-              COMMENTS
                                 NUMBER(S)
                                                  consultation to ensure
                                                  accuracy.
                               Doc Q: 699-715     Doc Q contains redlines;
                                                  language strikethroughs;
                                                  identifies topics requiring
                                                  further research; identifies
                                                  processes requiring
                                                  clarification on part of
                                                  drafters; comments
                                                  regarding additional data
                                                  sources; identifies
                                                  language needing to be
                                                  qualified; discusses word
                                                  choice; and poses
                                                  questions regarding
                                                  including additional
                                                  information.
                               Doc R: 755-70      Doc R contains
                                                  placeholders for
                                                  information to be inserted
                                                  in future.
                               Doc S: 809-25      Doc S contains redlines;
                                                  language strikethroughs;
                                                  comments regarding
                                                  accuracy of data
                                                  calculations; comments
                                                  regarding availability of
                                                  data; and comments on
                                                               18
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DOCUMENT     SUMMARY OF          RESPECTIVE            ADDITIONAL                  JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT           DOCUMENT              DOCUMENT                             5 U.S.C. 552 (b)(5)
               SECTION              AND                 SPECIFIC                    DELIBERATIVE PROCESS PRIVILEGE
               CONTENT             BATES-              COMMENTS
                                 NUMBER(S)
                                                  succinctness of ideas
                                                  being conveyed.
                               Doc T: 865-80      Doc T contains comments
                                                  questioning accuracy of
                                                  proposed revisions;
                                                  opinions on deletions;
                                                  questions inclusion of
                                                  information; redlines;
                                                  language strikethroughs;
                                                  discussions regarding
                                                  litigation exposure;
                                                  identifies language
                                                  requiring further
                                                  clarification; and
                                                  questions whether topics
                                                  should be expanded upon.
                               Doc U: 919-39      Doc U contains redlines;
                                                  language strikethroughs;
                                                  comments regarding the
                                                  inclusion of information;
                                                  and questions whether
                                                  topics should be expanded
                                                  upon.
                               Doc V: 978-95      Doc V contains redlines;
                                                  language strikethroughs;
                                                  comments that portions of
                                                  section incomplete; and

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DOCUMENT     SUMMARY OF          RESPECTIVE            ADDITIONAL                  JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT           DOCUMENT              DOCUMENT                             5 U.S.C. 552 (b)(5)
               SECTION              AND                 SPECIFIC                    DELIBERATIVE PROCESS PRIVILEGE
               CONTENT             BATES-              COMMENTS
                                 NUMBER(S)
                                                  questions whether topics
                                                  should be expanded upon.
                               Doc W:1034-51      Doc W contains redlines;
                                                  language strikethroughs;
                                                  comments on why
                                                  information may become
                                                  inaccurate and potential
                                                  impacts; discusses how to
                                                  couch issues from policy
                                                  perspective; highlights
                                                  language requiring
                                                  additional review and
                                                  why; explains why
                                                  revised language more
                                                  accurate; and questions
                                                  whether topics should be
                                                  expanded upon.
                               Dox X: 1084-92     Doc X contains
                                                  placeholders for
                                                  information to be inserted
                                                  in future.
                               Doc Y: 1113-22     Doc Y contains requests
                                                  to rephrase language and
                                                  highlights information
                                                  requiring updating.
                               Doc Z: 1140        Doc Z N/A
                               Doc Z2: 1157       Doc Z2 and Z3 contain
                               Doc Z3: 1175       questions regarding
                                                              20
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DOCUMENT      SUMMARY OF            RESPECTIVE          ADDITIONAL                       JUSTIFICATION FOR APPLICATION OF
 SECTION       DOCUMENT             DOCUMENT            DOCUMENT                                  5 U.S.C. 552 (b)(5)
                SECTION                AND               SPECIFIC                         DELIBERATIVE PROCESS PRIVILEGE
                CONTENT               BATES-            COMMENTS
                                    NUMBER(S)
                                                   usefulness of inclusion of
                                                   footnotes and editorial
                                                   comments that emphasis
                                                   on topics requires
                                                   alteration.
 Section II   Section II of the    Doc A: 8-15     Docs A and B contain          Within Section II, the variance in the length and depth of
              draft reports:       Doc B: 35-42    recommendations for           content; the recommendations to include citations; the
              distill and                          including citations;          placeholders for information to be inserted in future; the
              summarize                            placeholders for              discussions topic emphasis; the questions regarding whether
              concerns raised                      information to be inserted    issues are sufficiently addressed; cross-referencing notations;
              by non-federal                       in future; and                the redlines; language strikethroughs; discussions regarding
              entities with SC;                    placeholders for              information accuracy; the language followed by bracketed
              identifies                           subsections to be drafted     question marks; work distribution questions; editorial
              concerns meriting                    in future.                    comments regarding tone of language; editing comments;
              evaluation; offers   Doc C: 63-71    Doc C contains                need to confirm event sequencing; and suggestions to enhance
              opinions and                         discussions of emphasis to    and minimize or delete topics all reflect the reports, to include
              justifications for                   be placed on topics;          Section II, were part of a continuing process of revisions.
              prioritizing                         reminders to include
              concerns;                            citations; placeholders for   The drafts and Section II were prepared to summarize
              evaluates public                     information to be inserted    concerns raised by non-federal entities; opine on those
              affairs efforts;                     in future; questions          concerns meriting evaluation; offer opinions on and
              offers legal                         whether outstanding           justification for how concerns should be prioritized; evaluate
              interpretations;                     issues have been              DHS efforts; offer legal interpretations; discuss obstacles
              discusses                            sufficiently addressed;       statistical analysis; make policy suggestions; and discuss
              obstacles to data                    and notations regarding       factors potentially influencing data and statistics for the
              accuracy and                         cross-referencing             consideration of senior DHS leadership. Section II reflects the
              quality of data                      materials.                    exercise in judgment by CRCL personnel as to those facts,
              analysis; makes                                                    issues, and advice that warrant priority due to their importance
                                                               21
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DOCUMENT     SUMMARY OF           RESPECTIVE           ADDITIONAL                     JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT            DOCUMENT             DOCUMENT                                5 U.S.C. 552 (b)(5)
               SECTION                 AND              SPECIFIC                       DELIBERATIVE PROCESS PRIVILEGE
               CONTENT               BATES-            COMMENTS
                                   NUMBER(S)
             policy and public   Doc D: 96-106    Docs D and E contain         and relevance in developing the report and supporting the
             messaging           Doc E: 133-42    redlines; language           recommendations, proposals, and opinions contained therein.
             suggestions; and                     strikethroughs;              Consequently, the reports and Section II were predecisional,
             discusses factors                    placeholders for             deliberative, and do not represent the adoption of a final DHS
             and obstacles                        information to be inserted   policy.
             potentially                          in future; questions
             influencing data                     whether to add topics; and   Release of the drafts or Section II would not only pose a
             and statistics.                      questions posed regarding    substantial risk of confusing the public but their release would
                                                  accuracy of information.     allow the public to determine the substance of the proposed
                                 Doc F: 177-83    Doc F contains               and adopted changes made therein and thereby intrude upon
                                                  placeholders for             the editorial process and reveal the drafters’ chain of reasoning
                                                  information to be inserted   resulting in the stifling of the exchange of ideas and candid
                                                  in future; suggestions to    discussions within DHS.
                                                  cross-reference materials;
                                                  language followed by
                                                  question marks within
                                                  brackets (e.g. [??]); and
                                                  notations to confirm
                                                  accuracy of language.
                                 Doc G: 222-29    Doc G contains redlines;
                                                  language strikethroughs;
                                                  discussions regarding
                                                  sources; language
                                                  followed by question
                                                  marks within brackets
                                                  (e.g. [??]); issues
                                                  requiring follow-up;
                                                  suggestions for work
                                                              22
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               SECTION              AND                 SPECIFIC                    DELIBERATIVE PROCESS PRIVILEGE
               CONTENT             BATES-              COMMENTS
                                 NUMBER(S)
                                                  distribution within CRCL;
                                                  requests for feedback as to
                                                  tone of language; and
                                                  notation to confirm
                                                  information described in
                                                  text.
                               Doc H: 268-74      Doc. H contains notations
                                                  that sentences require
                                                  editing; redlines and
                                                  language strikethroughs;
                                                  request to confirm
                                                  sequencing of events
                                                  described in text; and
                                                  comments questioning the
                                                  accuracy of particular
                                                  language.
                               Doc I: 315-21      Docs I and J contain
                               Doc J: 362-68      redlines; language
                                                  strikethroughs; request to
                                                  confirm sequencing of
                                                  events described in text;
                                                  and comments
                                                  questioning the accuracy
                                                  of particular language.
                               Doc K: 411-17      Doc K contains redlines;
                                                  language strikethroughs;
                                                  suggestion to further
                                                  develop topic; and
                                                              23
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DOCUMENT     SUMMARY OF          RESPECTIVE            ADDITIONAL                  JUSTIFICATION FOR APPLICATION OF
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               SECTION              AND                 SPECIFIC                    DELIBERATIVE PROCESS PRIVILEGE
               CONTENT             BATES-              COMMENTS
                                 NUMBER(S)
                                                  suggestion to delete
                                                  material unless additional
                                                  clarification can be
                                                  obtained.
                               Doc L: 461-67      Doc L contains redlines;
                                                  language strikethroughs
                                                  and request to confirm
                                                  sequencing of events
                                                  described in text.
                               Doc M: 509-15      Doc M contains redlines;
                                                  highlights inaccuracies
                                                  requiring revision;
                                                  language strikethroughs;
                                                  and questions whether
                                                  particular information
                                                  should be referenced.
                               Doc N: 559-65      Doc N contains redlines;
                                                  opinions on edits made by
                                                  colleagues; highlights
                                                  inaccuracies requiring
                                                  revision; and requests
                                                  confirmation of
                                                  sequencing of events
                                                  described in text.
                               Doc O: 610-16      Docs O and P contain
                               Doc P: 662-68      redlines and requests
                                                  confirmation of

                                                              24
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DOCUMENT      SUMMARY OF            RESPECTIVE            ADDITIONAL                   JUSTIFICATION FOR APPLICATION OF
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                SECTION                AND                 SPECIFIC                     DELIBERATIVE PROCESS PRIVILEGE
                CONTENT               BATES-              COMMENTS
                                    NUMBER(S)
                                                     sequencing of events
                                                     described in text.
                                   Doc Q: 715-21     Doc Q contains redlines;
                                                     language strikethroughs;
                                                     and recommendations to
                                                     delete language.
                                   Doc R: 770-76     Docs R, S, T, U, and V
                                   Doc S: 825-31     N/A
                                   Doc T: 880-86
                                   Doc U: 939-45
                                   Doc V: 995-1001
                                   Doc W: 1051-57    Doc W contains comment
                                                     regarding altering
                                                     emphasis of material.
                                   Doc X: 1092-96    Docs X and Y contain
                                   Doc Y: 1122-33    notations that data must
                                                     be updated; bracketed
                                                     language requiring
                                                     follow-up; and editorial
                                                     suggestions to rephrase
                                                     language.
                                   Doc Z: 1140-42    Doc Z: N/A
                                   Doc Z2: 1157-59   Docs Z2 and Z3 contain
                                   Doc Z3: 1175-77   redlines; language
                                                     strikethroughs; and
                                                     opinions on word choice.
Section III   Section III of the   Doc A: 15-21      Docs A, B, and C contain   While not an exhaustive recitation, within Section III, the
              draft reports set    Doc B: 42-8       placeholders for           variance in the length and depth of content; the absence of a
                                                                 25
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DOCUMENT     SUMMARY OF           RESPECTIVE           ADDITIONAL                     JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT            DOCUMENT             DOCUMENT                                5 U.S.C. 552 (b)(5)
               SECTION                AND               SPECIFIC                       DELIBERATIVE PROCESS PRIVILEGE
               CONTENT               BATES-            COMMENTS
                                   NUMBER(S)
             forth proposals     Doc C: 71-9      information to be inserted   Section III in some drafts; the placeholders for information to
             and                                  in future; comments          be inserted in future; comments additional content; indications
             recommendations                      regarding inclusion of       drafters awaiting additional information; redlines and language
             involving civil                      additional content; and      strikethroughs; comments regarding revisions and accuracy of
             rights issues                        indications drafters         language; questions regarding topic emphasis; the language
             CRCL believes                        awaiting additional          followed by bracketed question marks; editorial comments;
             worthy of further                    information.                 discussion of implications of future policy decisions; questions
             consideration by    Doc D: 106-16    Docs D and E contain         involving resource allocation; and redundant proposals all
             senior DHS          Doc E: 142-52    redlines; language           reflect the reports and Section III were part of a continuing
             leadership.                          strikethroughs; highlights   process of revisions.
             Section III                          language requiring
             contains                             revision; discusses          The drafts and Section III were prepared for the purpose of
             proposals,                           accuracy of language;        setting forth proposals, recommendations and cautions
             recommendations                      questions whether            involving civil rights issues in connection with SC which in
             and cautions for                     emphasis on topics should    the opinion of CRCL were worthy of further consideration by
             the consideration                    be altered; and              senior DHS leadership in the areas of intra-agency
             of senior DHS                        placeholders for             cooperation; automating processes; data integrity;
             leadership on the                    information to be inserted   investigative efforts; resolving data anomalies; protocols;
             following topics:                    in future.                   investigative strategies; plans for future briefings; policy
             intra-agency        Doc F: 184-95    Doc F contains               recommendations; and suggestions involving public affairs
             cooperation;                         placeholders for language    concerns. Section III reflects the exercise in judgment by
             automating                           to be inserted in future;    CRCL personnel as to those facts, issues, and advice that
             processes; data                      language followed by         warrant priority due to their importance and relevance in
             integrity;                           question marks in            developing the report and supporting the proposals,
             investigative                        brackets (e.g. [??]);        recommendations, cautions, and opinions contained therein.
             efforts; possible                    identifies ideas requiring   Consequently, the reports and Section III were predecisional,
             ways to resolve                      further development;         deliberative, and do not represent the adoption of a final DHS
             data anomalies;                      proposed language for        policy.
                                                              26
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DOCUMENT     SUMMARY OF           RESPECTIVE           ADDITIONAL                       JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT            DOCUMENT             DOCUMENT                                  5 U.S.C. 552 (b)(5)
               SECTION               AND                SPECIFIC                         DELIBERATIVE PROCESS PRIVILEGE
               CONTENT              BATES-             COMMENTS
                                  NUMBER(S)
             proposed inter-                      consideration; topics
             agency protocols;                    requiring further             Release of the drafts or Section III would not only pose a
             investigative                        component collaboration;      substantial risk of confusing the public but their release would
             strategies; plans                    and indications language      allow the public to determine the substance of the proposed
             for future                           must be checked for           and adopted changes made therein and thereby intrude upon
             briefings;                           accuracy.                     the editorial process and reveal the drafters’ chain of reasoning
             proposed policy     Doc G: 229-42    Doc G contains redlines;      resulting in the stifling of the exchange of ideas and candid
             recommendations                      language strikethroughs;      discussions within DHS.
             ; and public                         questions appropriateness
             affairs                              of topics within the
             suggestions.                         section; identifies edited
                                                  language and reason for
                                                  edits; questions
                                                  arrangement of topics;
                                                  indicates language
                                                  requiring confirmation;
                                                  language followed by
                                                  question marks in
                                                  brackets (e.g. [??]);
                                                  requests that ideas be
                                                  clarified; and placeholders
                                                  for language to be inserted
                                                  in future.
                                 Doc H: 274-87    Doc H contains
                                                  placeholders for topics to
                                                  be referenced in future
                                                  within this section or
                                                  elsewhere in the
                                                              27
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DOCUMENT     SUMMARY OF          RESPECTIVE            ADDITIONAL                  JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT           DOCUMENT              DOCUMENT                             5 U.S.C. 552 (b)(5)
               SECTION              AND                 SPECIFIC                    DELIBERATIVE PROCESS PRIVILEGE
               CONTENT             BATES-              COMMENTS
                                 NUMBER(S)
                                                  document; redlines;
                                                  highlights quotes
                                                  requiring confirmation;
                                                  comments vague language
                                                  and suggestions for
                                                  rephrasing; suggestion to
                                                  and reasons for including
                                                  additional topics within
                                                  draft; language followed
                                                  by question marks within
                                                  brackets (e.g. [?]); and
                                                  questions whether current
                                                  language will lead to
                                                  misunderstandings with
                                                  request for colleague
                                                  feedback.
                               Doc I: 321-34      Doc I contains
                                                  placeholders for particular
                                                  topics to be referenced
                                                  within section at a later
                                                  date or elsewhere in the
                                                  report; redlines; highlights
                                                  quotes requiring
                                                  confirmation; comments
                                                  that future policy
                                                  decisions may make
                                                  suggested language
                                                  unnecessary; suggestions
                                                               28
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DOCUMENT     SUMMARY OF          RESPECTIVE            ADDITIONAL                  JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT           DOCUMENT              DOCUMENT                             5 U.S.C. 552 (b)(5)
               SECTION              AND                 SPECIFIC                    DELIBERATIVE PROCESS PRIVILEGE
               CONTENT             BATES-              COMMENTS
                                 NUMBER(S)
                                                  to resolve outstanding
                                                  uncertainties; request for
                                                  status of possible policy
                                                  changes; and suggestion
                                                  that topics be developed
                                                  further.
                               Doc J: 368-81      Doc J contains redlines;
                                                  indicates quotes requiring
                                                  confirmation; comments
                                                  that future policy
                                                  decisions may make
                                                  suggested language
                                                  unnecessary; suggestion
                                                  to suspend current course
                                                  of action until additional
                                                  information obtained;
                                                  placeholders for language
                                                  be inserted in future;
                                                  language strikethroughs;
                                                  and potentially
                                                  problematic language
                                                  highlighted with proposed
                                                  alternative.
                               Doc K: 417-31      Doc K contains redlines;
                                                  language strikethroughs;
                                                  highlights topics that may
                                                  not be ripe for discussion;
                                                  highlights language
                                                              29
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DOCUMENT     SUMMARY OF          RESPECTIVE            ADDITIONAL                  JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT           DOCUMENT              DOCUMENT                             5 U.S.C. 552 (b)(5)
               SECTION              AND                 SPECIFIC                    DELIBERATIVE PROCESS PRIVILEGE
               CONTENT             BATES-              COMMENTS
                                 NUMBER(S)
                                                  moved to other sections of
                                                  draft report; statement that
                                                  reviewer will follow up on
                                                  language missing from
                                                  draft; and questions
                                                  follow up conversations
                                                  on particular topics have
                                                  taken place.
                               Doc L: 467-80      Doc L contains redlines;
                                                  language strikethroughs;
                                                  indications that language
                                                  must be confirmed;
                                                  placeholders for topics to
                                                  be included in future;
                                                  language followed by
                                                  question marks within
                                                  brackets (e.g. [?]); and
                                                  suggestion to further
                                                  develop idea in the event
                                                  particular course of action
                                                  pursued.
                               Doc M: 515-29      Doc M contains redlines;
                                                  language strikethroughs;
                                                  highlights confusing
                                                  language; highlights
                                                  language causing
                                                  mischaracterizations;
                                                  identifies formatting
                                                               30
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DOCUMENT     SUMMARY OF          RESPECTIVE            ADDITIONAL                  JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT           DOCUMENT              DOCUMENT                             5 U.S.C. 552 (b)(5)
               SECTION              AND                 SPECIFIC                    DELIBERATIVE PROCESS PRIVILEGE
               CONTENT             BATES-              COMMENTS
                                 NUMBER(S)
                                                  issues; questions how
                                                  resources will be
                                                  prioritized; comments that
                                                  language needs to be
                                                  confirmed; questions
                                                  whether language should
                                                  be included in other DHS
                                                  documents; questions
                                                  regarding accuracy of
                                                  information based on
                                                  outstanding issues;
                                                  highlights inconsistencies
                                                  between draft sections;
                                                  placeholders for language
                                                  to be inserted in future;
                                                  and suggestion to further
                                                  develop idea in the event
                                                  particular course of action
                                                  pursued.
                               Doc N: 565-78      Doc N contains redlines;
                                                  language strikethroughs;
                                                  comments on distinctions
                                                  between draft versions
                                                  with opinion as to which
                                                  version most accurate;
                                                  identifies potentially
                                                  confusing language;
                                                  makes formatting
                                                              31
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DOCUMENT     SUMMARY OF          RESPECTIVE            ADDITIONAL                  JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT           DOCUMENT              DOCUMENT                             5 U.S.C. 552 (b)(5)
               SECTION              AND                 SPECIFIC                    DELIBERATIVE PROCESS PRIVILEGE
               CONTENT             BATES-              COMMENTS
                                 NUMBER(S)
                                                  suggestions; solicits
                                                  colleagues opinions;
                                                  comment on language
                                                  requiring confirmation;
                                                  questions how terms
                                                  defined; suggests revision
                                                  based on resolution of
                                                  issues unrelated to SC;
                                                  identifies language
                                                  causing concern for
                                                  drafters with suggested
                                                  alternative; placeholders
                                                  for language to be inserted
                                                  in future; and identifies
                                                  language edited by
                                                  colleague.
                               Doc O: 616-33      Doc O contains redlines;
                                                  language strikethroughs;
                                                  formatting comments;
                                                  retitled subheadings;
                                                  proposals duplicated
                                                  multiple times within
                                                  section; comment that
                                                  language must be
                                                  confirmed; placeholders
                                                  for insertion of language
                                                  in the future; language
                                                  followed by question
                                                              32
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DOCUMENT     SUMMARY OF          RESPECTIVE            ADDITIONAL                  JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT           DOCUMENT              DOCUMENT                             5 U.S.C. 552 (b)(5)
               SECTION              AND                 SPECIFIC                    DELIBERATIVE PROCESS PRIVILEGE
               CONTENT             BATES-              COMMENTS
                                 NUMBER(S)
                                                  marks within brackets
                                                  (e.g. [?]); and suggestion
                                                  to further develop idea in
                                                  the event particular course
                                                  of action pursued.
                               Doc P: 668-82      Doc P contains notations
                                                  that topics must be
                                                  reordered; poses question
                                                  regarding expanding
                                                  topic; suggestion to
                                                  further develop idea in the
                                                  event particular course of
                                                  action pursued; and
                                                  suggestions to expand
                                                  topics of discussion.
                               Doc Q: 721-38      Doc Q contains redlines;
                                                  language strikethroughs;
                                                  suggested future areas of
                                                  inquiry based on present
                                                  assumptions with request
                                                  for colleague feedback;
                                                  comment questioning
                                                  accuracy of language; and
                                                  number of
                                                  recommendations
                                                  increased.
                               Doc R: 776-92      Doc R contains
                                                  formatting questions.
                                                              33
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DOCUMENT     SUMMARY OF         RESPECTIVE             ADDITIONAL                  JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT          DOCUMENT               DOCUMENT                             5 U.S.C. 552 (b)(5)
               SECTION               AND                SPECIFIC                    DELIBERATIVE PROCESS PRIVILEGE
               CONTENT             BATES-              COMMENTS
                                 NUMBER(S)
                               Doc S: 831-47      Doc S contains suggestion
                                                  to better incorporate ideas
                                                  into section.
                               Doc T: 886-902     Doc T contains redlines;
                                                  language strikethroughs;
                                                  and opinions on edits
                                                  made by other reviewers.
                               Doc U: 945-61      Docs U and V N/A
                               Doc V: 1001-17
                               Doc W: 1057-73     Doc W contains redlines;
                                                  language strikethroughs;
                                                  identifies topics to be
                                                  expanded upon if other
                                                  events occur in the future;
                                                  and number of
                                                  recommendations
                                                  reduced.
                               Doc X: 1096-1107   Doc X contains
                                                  placeholders for
                                                  information to be inserted
                                                  in future; and comments
                                                  that language will require
                                                  updating;
                               Doc Y: N/A         Doc Y does not contain a
                                                  section dedicated to
                                                  proposals and
                                                  recommendations.

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DOCUMENT     SUMMARY OF           RESPECTIVE            ADDITIONAL                      JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT            DOCUMENT              DOCUMENT                                 5 U.S.C. 552 (b)(5)
               SECTION                AND                SPECIFIC                        DELIBERATIVE PROCESS PRIVILEGE
               CONTENT               BATES-             COMMENTS
                                   NUMBER(S)
                                 Doc Z: 1142-52    Doc Z contains
                                                   placeholders for
                                                   information to be inserted
                                                   in future.
                                 Doc Z2: 1159-69   Docs Z2 and Z3 contain
                                 Doc Z3: 1177-87   redlines; language
                                                   strikethroughs; identifies
                                                   redundant language; and
                                                   conveys preferences
                                                   relayed by colleagues.
Section IV   Discusses           Doc A: N/A        Doc A does not contain a      While not an exhaustive recitation, within Section IV, the
             concerns raised                       section dedicated to          variance in the length and depth of content; the absence in
             by non-federal                        concerns raised in            drafts of a section dedicated to additional concerns to those
             entities with the                     addition to those             discussed in the previous section; uncertainty regarding
             SCP that CRCL                         discussed in Section III.     inclusion of topics due to future events; suggestions for
             believes merit      Doc B: 49-51      Doc B contains notation       revisions; recommendations to expand ideas; redlines and
             attention in                          that citations must be        language strikethroughs; discussions on the utility of
             addition to those                     inserted; identifies          broaching topics; suggested future areas of focus; and
             previously                            suggestions that may not      questions regarding direction of argument all reflect that the
             discussed in                          be necessary based on         reports and Section IV were part of a continuing process of
             Section III.                          future events;                revisions.
             Identifies and      Doc C: 79-82      Doc C contains notations
             analyzes less                         that language may need to     The drafts and Section IV were prepared for the purpose of
             pressing issues                       be revised or narrowed;       setting forth proposals, recommendations and cautions
             associated with                       identifies citations needed   involving civil rights issues in connection with SC which in
             the SC.                               to be inserted; questions     the opinion of CRCL were worthy of further consideration by
                                                   utility of proposed           senior DHS leadership that were not raised in the previous
                                                   suggestion; and identifies    section. Section IV reflects the exercise in judgment by CRCL
                                                               35
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DOCUMENT     SUMMARY OF          RESPECTIVE            ADDITIONAL                        JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT           DOCUMENT              DOCUMENT                                   5 U.S.C. 552 (b)(5)
               SECTION              AND                 SPECIFIC                          DELIBERATIVE PROCESS PRIVILEGE
               CONTENT             BATES-              COMMENTS
                                 NUMBER(S)
                                                  concepts requiring further     personnel as to those facts, issues, and advice that additionally
                                                  development.                   warrant consideration due to their importance and relevance in
                               Doc D: 116-18      Docs D and E contain           developing the report and supporting the proposals,
                               Doc E: 152-54      redlines and language          recommendations, cautions, and opinions contained therein.
                                                  strikethroughs; identifies     Consequently, the reports and Section IV were predecisional,
                                                  language requiring             deliberative, and do not represent the adoption of a final DHS
                                                  revision or deletion; and      policy.
                                                  solicits opinions of
                                                  colleagues on the utility of   Release of the drafts or Section IV would not only pose a
                                                  addressing particular          substantial risk of confusing the public but their release would
                                                  concerns.                      allow the public to determine the substance of the proposed
                               Doc F: 195-98      Doc F contains                 and adopted changes made therein and thereby intrude upon
                                                  instructions to provide        the editorial process and reveal the drafters’ chain of reasoning
                                                  further explanation and        resulting in the stifling of the exchange of ideas and candid
                                                  materials that can be          discussions within DHS.
                                                  utilized to do so;
                                                  suggestion to delete
                                                  material; and request for
                                                  suggestions to resolve
                                                  outstanding issue.
                               Doc G: 242-45      Doc G contains redlines
                                                  and language
                                                  strikethroughs; suggestion
                                                  to delete material; and
                                                  request that colleagues
                                                  confirm characterization
                                                  of assertion.

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DOCUMENT     SUMMARY OF         RESPECTIVE             ADDITIONAL                  JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT          DOCUMENT               DOCUMENT                             5 U.S.C. 552 (b)(5)
               SECTION                AND               SPECIFIC                    DELIBERATIVE PROCESS PRIVILEGE
               CONTENT             BATES-              COMMENTS
                                 NUMBER(S)
                               Doc H: 287-89      Docs H and I contain
                               Doc I: 334-37      suggestion to delete
                                                  material and questions
                                                  who will provide missing
                                                  language.
                               Doc J: 381-84      Doc J contains suggestion
                                                  to delete material; redlines
                                                  and language
                                                  strikethroughs; suggested
                                                  future areas to focus on;
                                                  and questions who will
                                                  provide missing language.
                               Doc K: 431-34      Doc K contains questions
                                                  regarding direction of
                                                  argument; redlines and
                                                  language strikethroughs;
                                                  highlights language
                                                  requiring additional
                                                  consideration with
                                                  proposed course of action;
                                                  and suggestion that topic
                                                  be deleted from draft due
                                                  to change in events.
                               Doc L: 481-83      Doc L highlights topic
                                                  warranting legal
                                                  consideration.
                               Doc M: 529-32      Doc M questions the
                                                  accuracy of assertion
                                                               37
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DOCUMENT      SUMMARY OF           RESPECTIVE              ADDITIONAL                      JUSTIFICATION FOR APPLICATION OF
 SECTION       DOCUMENT            DOCUMENT                DOCUMENT                                 5 U.S.C. 552 (b)(5)
                SECTION               AND                   SPECIFIC                        DELIBERATIVE PROCESS PRIVILEGE
                CONTENT              BATES-                COMMENTS
                                   NUMBER(S)
                                                      based on potential
                                                      changes and highlights
                                                      topic warranting legal
                                                      consideration.
                                  Doc N: 579-81       Doc N highlights topic
                                                      warranting legal
                                                      consideration.
                                  Doc O: 633-35       Docs O, P, Q, R, S, T, U,
                                  Doc P: 682-84       V and W: N/A
                                  Doc Q: 738-41
                                  Doc R: 792-95
                                  Doc S: 848-50
                                  Doc T: 903-05
                                  Doc U: 961-63
                                  Doc V: 1017-19
                                  Doc W: 1074-76
                                  Docs X, Y, Z, Z2,   Docs X, Y, Z, Z2, and Z3
                                  and Z3: N/A         do not contain a section
                                                      dedicated to concerns
                                                      raised in addition to those
                                                      discussed in Section III.
 Section V    Provides            Docs A, B, C, D,    Docs A, B, C, D, and E        While not an exhaustive recitation, within Section V, the
              summary of          and E: N/A          do not contain a              variance in the length, content and depth of content; the
              issues presented                        conclusory section.           absence in drafts of a section dedicated to summarizing the
              within draft        Doc F: 198-99       Doc F contains notation       issues presented and policy suggestions; the placeholders for
              reports and makes                       that section to be written    information to be inserted in the future; the redlines and
              policy                                  in future followed by a       language strikethroughs; and the highlighted material requiring
              suggestions.                            placeholder for an
                                                                  38
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DOCUMENT     SUMMARY OF          RESPECTIVE            ADDITIONAL                      JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT           DOCUMENT              DOCUMENT                                 5 U.S.C. 552 (b)(5)
               SECTION              AND                 SPECIFIC                        DELIBERATIVE PROCESS PRIVILEGE
               CONTENT             BATES-              COMMENTS
                                 NUMBER(S)
                                                  appendix section with a      consultation with agency counsel all reflect that the reports
                                                  list of documents under      and Section V were part of a continuing process of revisions.
                                                  consideration for
                                                  inclusion therein.           The drafts and Section V were prepared for the purpose of
                               Doc G: 245-47      Doc. G contains redlines;    summarizing the issues presented and policy suggestions
                                                  language strikethroughs;     which, in the opinion of CRCL, were worthy of inclusion
                                                  placeholder for an           within the report and for further consideration by senior DHS
                                                  appendix section with a      leadership. Section V reflects the exercise in judgment by
                                                  list of documents under      CRCL personnel in distilling those facts, issues, and advice
                                                  consideration for            developed in the report that supported the proposals,
                                                  inclusion therein.           recommendations, cautions, and opinions contained therein.
                               Doc H: 289-94      Doc H, I, J contain          Consequently, the reports and Section V were predecisional,
                               Doc I: 336-41      placeholder for an           deliberative, and do not represent the adoption of a final DHS
                               Doc J: 384-88      appendix section with a      policy.
                                                  list of documents under
                                                  consideration for            Release of the drafts or Section V would not only pose a
                                                  inclusion therein and        substantial risk of confusing the public but their release would
                                                  endnotes with                allow the public to determine the substance of the proposed
                                                  placeholders for             and adopted changes made therein and thereby intrude upon
                                                  information to be included   the editorial process and reveal the drafters’ chain of reasoning
                                                  in the future.               resulting in the stifling of the exchange of ideas and candid
                               Doc K: 434-38      Doc K contains redlines;     discussions within DHS.
                                                  language strikethroughs;
                                                  placeholder for an
                                                  appendix section with a
                                                  list of documents under
                                                  consideration for
                                                  inclusion therein and
                                                              39
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                          HOMELAND SECURITY AND UNITED STATES IMMIGRATION AND CUSTOMS ENFORCEMENT
                                           CIVIL ACTION NO. 1:16-cv-00211-RMC (D.D.C.)

DOCUMENT     SUMMARY OF          RESPECTIVE            ADDITIONAL                  JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT           DOCUMENT              DOCUMENT                             5 U.S.C. 552 (b)(5)
               SECTION              AND                 SPECIFIC                    DELIBERATIVE PROCESS PRIVILEGE
               CONTENT             BATES-              COMMENTS
                                 NUMBER(S)
                                                  highlights issues that may
                                                  be resolved in the future.
                               Doc L: 483-88      Doc L contains redlines;
                                                  language strikethroughs,
                                                  no appendix portion, and
                                                  comments that drafters
                                                  awaiting additional source
                                                  material.
                               Doc M: 532-36      Doc M contains
                                                  placeholders for
                                                  information to be inserted
                                                  in future and placeholder
                                                  for an appendix section
                                                  with a list of documents
                                                  under consideration for
                                                  inclusion therein.
                               Doc N: 581-86      Docs N, O, and T contain
                               Doc O: 635-40      no appendix section and
                               Doc T: 905-10      endnotes containing
                                                  redlines and language
                                                  strikethroughs.
                               Doc P: 684-89      Doc P contains no
                                                  appendix section and
                                                  placeholders for
                                                  information to be inserted
                                                  in future.
                               Doc Q: 741-46      Doc Q contain no
                                                  appendix section and
                                                              40
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                          HOMELAND SECURITY AND UNITED STATES IMMIGRATION AND CUSTOMS ENFORCEMENT
                                           CIVIL ACTION NO. 1:16-cv-00211-RMC (D.D.C.)

DOCUMENT     SUMMARY OF          RESPECTIVE            ADDITIONAL                  JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT           DOCUMENT              DOCUMENT                             5 U.S.C. 552 (b)(5)
               SECTION              AND                 SPECIFIC                    DELIBERATIVE PROCESS PRIVILEGE
               CONTENT             BATES-              COMMENTS
                                 NUMBER(S)
                                                  redlines and language
                                                  strikethroughs.
                               Doc R: 795-800     Docs R, S, and Z: N/A
                               Doc S: 850-55
                               Doc Z: 1152-54
                               Doc U: 964-69      Docs U, V, and W do not
                               Doc V: 1020-25     contain an appendix and
                               Doc W: 1076-81     highlights material
                                                  requiring consultation
                                                  with agency counsel.
                               Doc X: 1107-10     Docs X and Y contain
                               Doc Y: 1134-37     placeholder for conclusion
                                                  to be inserted in future,
                                                  placeholders of endnotes
                                                  to be inserted in future,
                                                  and highlights material
                                                  requiring consultation
                                                  with agency counsel.
                               Doc Z2: 1169-72    Docs Z2 and Z3 do not
                               Doc Z3: 1187-90    contain an appendix and
                                                  endnotes contain redlines
                                                  and language
                                                  strikethroughs.
 Document    Entries in this   Doc A: 1-24        Doc A: INITIAL,
  Headers    row under the                        PARTIAL, ROUGH
             column heading                       DRAFT
             “Document                            DELIBERATIVE//FOUO
             Specific                             //MAY CONTAIN LAW
                                                              41
                           Case 1:16-cv-00211-RMC Document 32-3 Filed 05/12/17 Page 43 of 47
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                                           CIVIL ACTION NO. 1:16-cv-00211-RMC (D.D.C.)

DOCUMENT     SUMMARY OF            RESPECTIVE          ADDITIONAL                  JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT             DOCUMENT            DOCUMENT                             5 U.S.C. 552 (b)(5)
               SECTION                AND               SPECIFIC                    DELIBERATIVE PROCESS PRIVILEGE
               CONTENT               BATES-            COMMENTS
                                   NUMBER(S)
             Comments”                            ENFORCEMENT
             reflect the                          SENSITIVE MATERIAL
             language found in                    – May 18, 2011
             the header section   Doc B: 25-51    Doc B: SECOND
             on each page of                      DRAFT
             each respective                      DELIBERATIVE//FOUO
             document, unless                     //MAY CONTAIN LAW
             otherwise noted.                     ENFORCEMENT
                                                  SENSITIVE MATERIAL
                                                  – May 25, 201 (sic)
                                  Doc C: 52-82    Doc C: THIRD DRAFT
                                                  DELIBERATIVE//FOUO
                                                  //MAY CONTAIN LAW
                                                  ENFORCEMENT
                                                  SENSITIVE MATERIAL
                                                  – May 25, 201 (sic)
                                  Doc D: 83-118   Doc D: FOURTH
                                                  DRAFT//May 27, 2011
                                                  DELIBERATIVE//FOUO
                                                  //MAY CONTAIN LAW
                                                  ENFORCEMENT
                                                  SENSITIVE MATERIAL
                                  Doc E: 119-54   Doc E: FOURTH
                                                  DRAFT//May 27, 2011
                                                  DELIBERATIVE//FOUO
                                                  //MAY CONTAIN LAW


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DOCUMENT     SUMMARY OF         RESPECTIVE             ADDITIONAL                  JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT          DOCUMENT               DOCUMENT                             5 U.S.C. 552 (b)(5)
               SECTION               AND                SPECIFIC                    DELIBERATIVE PROCESS PRIVILEGE
               CONTENT             BATES-              COMMENTS
                                 NUMBER(S)
                               Doc F: 155-99      Doc F: FIFTH
                                                  DRAFT//May 29, 2011//
                                                  DELIBERATIVE//FOUO
                               Doc G: 200-47      Doc G: 5/31 SS redline to
                                                  5/30
                                                  draft//DELIBERATIVE//
                                                  FOUO
                               Doc H: 248-94      Doc H: 5/31
                                                  draft//DELIBERATIVE//
                                                  FOUO
                               Doc I: 295-41      Doc I: 6/1
                                                  draft//DELIBERATIVE//
                                                  FOUO
                               Doc J: 342-88      Doc J: 6/2
                                                  draft//DELIBERATIVE//
                                                  FOUO
                               Doc K: 389-438     Doc K: Draft 8: June 7,
                                                  2011//DELIBERATIVE//
                                                  FOUO
                               Doc M: 489-536     Doc M: Draft 8: June 7,
                                                  2011 //
                                                  DELIBERATIVE//FOUO
                               Doc N: 537-86      Doc N: DRAFT 10-JUNE
                                                  9, 2011 –
                                                  DELIBERATIVE (First
                                                  page only)


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                          HOMELAND SECURITY AND UNITED STATES IMMIGRATION AND CUSTOMS ENFORCEMENT
                                           CIVIL ACTION NO. 1:16-cv-00211-RMC (D.D.C.)

DOCUMENT     SUMMARY OF         RESPECTIVE             ADDITIONAL                  JUSTIFICATION FOR APPLICATION OF
 SECTION      DOCUMENT          DOCUMENT               DOCUMENT                             5 U.S.C. 552 (b)(5)
               SECTION              AND                 SPECIFIC                    DELIBERATIVE PROCESS PRIVILEGE
               CONTENT             BATES-              COMMENTS
                                 NUMBER(S)
                               Doc O: 587-640     Doc O: DRAFT 12 –
                                                  JUNE 10, 2011 –
                                                  DELIBERATIVE
                               Doc P: 641-89      Doc P: DRAFT 12 –
                                                  JUNE 10, 2012 –
                                                  DELIBERATIVE (First
                                                  page only)
                               Doc Q: 690-746     Doc Q: DRAFT 20 –
                                                  JULY 18, 2011 –
                                                  DELIBERATIVE (First
                                                  page only) (Header on
                                                  remaining pages of draft
                                                  report: DRAFT:
                                                  DELIBERATIVE)
                               Doc R: 747-800     Docs R, S, T, U, V, W:
                               Doc S: 801-55      DRAFT:
                               Doc T: 856-910     DELIBERATIVE
                               Doc U: 911-69
                               Doc V: 970-1025
                               Doc W: 1026-81
                               Doc L: 439-88      Docs L, X, Y, Z, Z2, Z3:
                               Doc X: 1082-110    No headers on any page
                               Doc Y: 1111-37     of draft reports.
                               Doc Z: 1138-54
                               Doc Z2: 1155-72
                               Doc Z3: 1173-90


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The draft tables, described below, were withheld in their entirety under 5 U.S.C. 552 (b)(5) under the deliberative process privilege.
The information and data contained within the tables were distilled from a larger group of information and data (the raw data having been released to
Plaintiffs prior to the initiation of litigation) and therefore reflect the exercise in judgement by subordinate DHS personnel as to the information and
data that warrant priority due to its importance and relevance in drafting the reports. The information and data contained in the tables served as a
basis for, and supported the recommendations contained within, the drafts. In short, releasing the information and data within the tables would reveal
the recommendations, proposals, cautions, and opinions contained within the reports. For the foregoing reasons, the tables are deliberative,
predecisional, and do not represent final agency policy.
Additionally, the variance in the content of the tables, the fact some tables were removed from numerous versions, the comments regarding data
accuracy concerns, the fact many figures are estimates, the fact some figures are followed by bracketed question marks, the redlines and language
strikethroughs, discussions of inferences that could be drawn from the data, and the fact some figures are based on a sampling of data all reflect a
continuing process of revisions and iterations in the deliberative process. Their release would allow the public to determine the substance of the
proposed and adopted changes made to the drafts thereby intruding on the editorial process and would reveal the drafters’ chain of reasoning. This
would result in the stifling of the exchange of ideas and candid discussions within the agency and drafters would be inhibited in exchanging ideas.
Moreover, release of the tables would pose a substantial risk of confusing the public.
Finally, because the facts and data contained within the tables are so mixed in with the balance of the deliberative material in the reports (which serve
to summarize issues and contain recommendations and opinions for the consideration of senior DHS leadership) it is not possible to release any
meaningful portions of the draft reports or tables.
Description 1: Draft tables showing aliens as a share of removals and returns. Aliens assigned to one of four categories, or levels, depending upon
criminal history. Drafts contain notations that portions of tables contain duplicate data and that data figures are estimates. Drafts indicate data
inaccurate because aliens not necessarily placed in correct category due to data lags and inconsistent data reporting of criminal histories by law
enforcement agencies, thereby impacting statistics. Drafts contain discussions of whether portions of tables require updates and retroactive
tabulations based on new information. Drafts contain figures followed by question marks in brackets, e.g. [?]. Draft tables contain redlines and
language strikethroughs. Draft tables comment on fact data within rows not accurate and consequently rows cannot be compared. Drafts include
comments that non-ICE data included within earlier versions of tables. Document U contains two versions of same table. Doc O contains two
versions of the table with varying calculations. The tables showing aliens as a share of removals and returns are located on the following pages of
each respective document: Doc A: 7; Doc B: 34; Doc C: 62; Doc D: 94; Doc E: 130; Doc F: 170; Doc G: 215; Doc H: 262; Doc I: 309; Doc J: 356;

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                              HOMELAND SECURITY AND UNITED STATES IMMIGRATION AND CUSTOMS ENFORCEMENT
                                               CIVIL ACTION NO. 1:16-cv-00211-RMC (D.D.C.)

Doc K: 405; Doc L: 450; Doc M: 499; Doc N: 548; Doc O: 598; Doc P: 651; Doc Q: 702; Doc R: 757; Doc S: 811; Doc T: 867; Doc U: 922, 923;
Doc V: 980, Doc W: 1036; Doc X: 1085; Docs Y through Z3 do not contain such tables.
Description 2: Draft tables generated to estimate number of aliens not placed within the correct category based on criminal history at time of
removal. Estimates are based on a sampling of files. Drafts reflect estimates based on CRCL’s understanding of another component’s data entry
process. Draft tables contain redlines and language strikethroughs. Drafts indicate data inaccurate because aliens not necessarily placed in correct
category due to data lags and inconsistent data reporting of criminal histories by law enforcement agencies, thereby impacting statistics. Drafts
contain discussions of whether different data should be utilized to generate an estimate. The tables generated to estimate the number of aliens placed
in the wrong category based on criminal history at time of removal are located on the following pages of each respective document: Doc A: 14; Doc
B: 41; Doc C: 61, 69, 70; Doc D: 93, 103, 104; Doc E: 129, 139, 140; Doc F: 168, 175; Doc G: 213, 220; Doc H: 260, 266; Doc I: 307, 313; Doc J:
354, 360; Doc K: 403, 409; Doc L: 454, 459; Doc M: 503, 508; Doc N: 552, 557; Doc O: 602, 607; Doc P: 659; Doc Q: 712, 713; Doc R: 767, 768;
Doc S: 822, 823; Doc T: 877, 878; Doc U: 934, 936; Doc V: 991, 992; Doc W: 1047, 1048; Doc X: 1095; Doc Y: 1121; Docs Z, Z2, Z3 contain no
such tables.
Description 3: Draft tables depicting that portion of Secure Communities enforcement activity dedicated exclusively to misdemeanants. Tables
contain language strikethroughs and redlines. Drafts discuss inferences that could be drawn from the data. Drafts contain notations that figures
drawn from flawed conviction data. Drafts contain notations that misdemeanant figures are inaccurate because felony and/or additional misdemeanor
convictions were not entered into federal rap sheets by non-DHS agencies. The tables depicting the portion of Secure Communities enforcement
activity dedicated exclusively to misdemeanants are located on the following pages of each respective document: Doc P: 661; Doc Q: 714; Doc R:
769; Doc S: 824; Doc T: 879; Doc U: 938; Doc V: 994; Doc W: 1050; Docs A, B, C, D, E, F, G, H, I, J, K, L, M, N, O, X, Y, Z, Z2, Z3 do not
contain such tables.
Description 4: Draft table depicting criminal aliens as a share of removals and returns. Tables contain language that data and percentages reflected
in table are inaccurate due to data lags and inconsistent data reporting of criminal histories by law enforcement agencies. Tables contain redlines and
language strikethroughs. Docs U, V, W contain alternate versions of same table. The tables depicting criminal aliens as a share of removals and
returns are located on the following pages of each respective document: Doc D: 96, Doc E: 132; Doc F: 173; Doc G: 218; Doc H: 264; Doc I: 311;
Doc J: 358; Doc K: 407; Doc L: 457; Doc M: 506; Doc N: 555; Doc O: 605; Doc P: 657; Doc Q: 709; Doc R: 764; Doc S: 819; Doc T: 874; Doc U:
931, 932; Doc V: 988; Doc W: 1044; Doc X: 1092; Doc Y: 1119; Docs A, B, C, Z, Z2, Z3 do not contain such tables.




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